UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

UNITED STATES OF AMERICA )
) DOCKET NO. 3:19-cr-00388-FDW-DSC
v. )
) FACTUAL BASIS
MAYURESH SURESH IYER )
)

 

NOW COMES the United States of America, by and through R. Andrew Murray, United
States Attorney for the Western District of North Carolina, and hereby files this Factual Basis in
support of the plea agreement filed simultaneously in this matter.

This Factual Basis is filed pursuant to Local Criminal Rule 11.2 and does not attempt to
set forth all of the facts known to the United States at this time. By their signatures below, the
parties expressly agree that there is a factual basis for the guilty plea that the defendant will tender
pursuant to the plea agreement, and that the facts set forth in this Factual Basis are sufficient to
establish all of the elements of the crime(s). The parties agree not to object to or otherwise
contradict the facts set forth in this Factual Basis.

Upon acceptance of the plea, the United States will submit to the Probation Office a
“Statement of Relevant Conduct” pursuant to Local Criminal Rule 32.4. The defendant may
submit (but is not required to submit) a response to the Government’s “Statement of Relevant
Conduct” within seven days of its submission. The parties understand and agree that this Factual
Basis does not necessarily represent all conduct relevant to sentencing. The parties agree that they
have the right to object to facts set forth in the presentence report that are not contained in this
Factual Basis. Either party may present to the Court additional relevant facts that do not contradict
facts set forth in this Factual Basis.

1. On or about July 2, 2019, the defendant did knowingly distribute visual depictions
of prepubescent minors engaging in sexually explicit conduct.

oe Defendant distributed the visual depictions of the minors engaging in sexually
explicit conduct using a means and facility of interstate and foreign commerce; he shared the visual
depictions over Discord, which is an internet messaging application that, in addition to allowing
users to video chat and send messages back and forth, allows users to send files such as images or
videos to each other.

a When the defendant distributed the visual depictions of prepubescent minors
engaged in sexually explicit conduct over Discord, the defendant was located in Mecklenburg
County, which is within the Western District of North Carolina.

“<— (2 {ZOZE
Case 3:19-cr-00388-FDW-DSC Document 15 Filed 08/21/20 page Lary. s(al2
R. ANDREW MURRAY
UNITED STATES ATTORNEY

MARK T. ODULIO
ASSISTANT UNITED STATES ATTORNEY

 

Defendant’s Counsel’s Signature and Acknowledgment

I have read this Factual Basis, the Bill of Indictment, and the plea agreement in this case,
and have discussed them with the defendant. Based on those discussions, I am satisfied that the
defendant understands the Factual Basis, the Bill of Indictment, and the plea agreement. I hereby
certify that the defendant does not dispute this Factual Basis.

L AZAD. DATED: & 2/ 2020

SCOTT GERI Aney Tor Defenctant

   

Case 3:19-cr-00388-FDW-DSC Document 15 Filed 08/21/20 Page 2 of 2
